       Case 3:15-cv-01074-JAM Document 446 Filed 03/08/21 Page 1 of 4




                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT


RUSS McCULLOUGH, et al.,               : NO. 3:15-cv-01074-VLB
                                       : LEAD CASE
                  Plaintiffs,          :
                                       :
VS.                                    :
                                       :
WORLD WRESTLING ENTERTAINMENT,         :
INC.,                                  :
                                       :
                  Defendant.           :


EVAN SINGLETON AND VITO                : NO. 3:15-CV-00425-VLB
LOGRASSO,                              : CONSOLIDATED CASE
                                       :
                  Plaintiffs,          :
                                       :
VS.                                    :
                                       :
WORLD WRESTLING ENTERTAINMENT,         :
INC., et al.,                          :
                                       :
                  Defendants.


JOSEPH M. LAURINAITIS, et al.,         : NO. 3:16-CV-01209-VLB
                                       : CONSOLIDATED CASE
                  Plaintiffs,          :
                                       :
VS.                                    :
                                       :
WORLD WRESTLING ENTERTAINMENT,         :
INC., et al.,                          :
                                       :
                  Defendants.          : MARCH 8, 2021


 DEFENDANTS WORLD WRESTLING ENTERTAINMENT INC. AND VINCENT K.
MCMAHON’S SUPPLEMENT TO THEIR APPLICATIONS FOR ATTORNEYS’ FEES
                   ORDERED BY THE COURT
         Case 3:15-cv-01074-JAM Document 446 Filed 03/08/21 Page 2 of 4




       Defendants World Wrestling Entertainment, Inc. (“WWE”) and Vincent K. McMahon

(“McMahon”) (collectively, “Defendants”) hereby supplement their pending Applications for

Attorneys’ Fees Ordered by the Court (“Applications”) (ECF Nos. 384 and 386) prior to the

hearing on the Applications that is currently scheduled for March 30, 2021.

       1.      Defendants filed two Applications for legal fees and costs that Attorney

Konstantine Kyros and his law firm were ordered by the Court to pay Defendants as sanctions:

(i) an application for $178,486.74 in fees and costs awarded by the Court as Rule 37 sanctions in

the Singleton case (ECF No. 378); and (ii) an application for $357,439.70 in fees and costs

awarded by the court as Rule 11 sanctions in the Laurinaitis case (ECF No. 386). These

Applications sought a total of $533,926.44 in legal fees and costs ($379,440.44 in fees and costs

billed by K&L Gates LLP and $154,486.00 in fees and costs billed by Day Pitney LLP) incurred

by Defendants in connection with the three motions for sanctions that were granted by the Court.

       2.      On September 9, 2020, the Second Circuit issued its decision in favor of

Defendants in the appeals filed by Plaintiffs and Attorney Kyros. Specifically, the Second

Circuit (i) dismissed the appeals of the merits orders in the Haynes, McCullough, Frazier, and

Singleton cases; (ii) dismissed the appeals of the sanctions orders in the Laurinaitis and Singleton

cases; and (iii) affirmed the judgment of the District Court in favor of Defendants in all other

respects. (Case No. 18-3278, ECF No. 264-1.)

       3.      Following issuance of the Second Circuit’s decision, Defendants have incurred

additional legal fees and costs in connection with their Applications. As set forth in the attached

Supplemental Declarations of Curtis B. Krasik of K&L Gates LLP and Jeffrey P. Mueller of Day

Pitney LLP (the “Supplemental Declarations”), Defendants have incurred an additional

$39,844.00 in fees and costs in connection with their Applications following the issuance of the



                                                -2-
.
         Case 3:15-cv-01074-JAM Document 446 Filed 03/08/21 Page 3 of 4




Second Circuit’s decision ($28,532.00 in fees and costs billed by K&L Gates LLP and

$11,312.00 in fees and costs billed by Day Pitney LLP). The Supplemental Declarations attest to

the reasonableness of the fees and costs billed to Defendants and include copies of the actual

invoices sent to Defendants reflecting the time entries for the legal fees and costs being sought.

       4.      The additional legal fees and costs sought by Defendants in connection with the

Applications are recoverable by Defendants. See J.P. Sedlak Associates v. Connecticut Life &

Cas. Ins. Co., No. 3:98CV145 DFM, 2000 WL 852331, at *7 (D. Conn. Mar. 30, 2000) (stating

that “courts generally award fees for work done on [a fee] application” and that “to decline to

award fees in this instance would be unjust”) (citing Gagne v. Maher, 594 F.2d 336, 344 (2d Cir.

1979)); Stokes v. Norwich Taxi, LLC, 289 Conn. 465, 492–94 (2008) (upholding award of

attorney’s fees in connection with pursuit of fee application).

       5.      Accordingly, Defendants seek a total of a combined total $573,770.44 in legal

fees and costs in their Applications ($407,972.44 in fees and costs billed by K&L Gates LLP and

$165,798.00 in fees and costs billed by Day Pitney LLP).

       WHEREFORE, the Court should grant the Applications and award Defendants a total of

$573,770.44 in attorneys’ fees and costs.




                                                -3-
.
         Case 3:15-cv-01074-JAM Document 446 Filed 03/08/21 Page 4 of 4




                                                 DEFENDANTS WORLD WRESTLING
                                                 ENTERTAINMENT, INC. and VINCENT K.
                                                 McMAHON,

                                                 By: /s/ Jerry S. McDevitt
                                                    Jerry S. McDevitt (pro hac vice)
                                                    Curtis B. Krasik (pro hac vice)
                                                    K&L GATES LLP
                                                    K&L Gates Center
                                                    210 Sixth Avenue
                                                    Pittsburgh, PA 15222
                                                    Phone: (412) 355-6500
                                                    Fax: (412) 355-6501
                                                    Email: jerry.mcdevitt@klgates.com
                                                    Email: curtis.krasik@klgates.com

                                                      Jeffrey P. Mueller (ct27870)
                                                      DAY PITNEY LLP
                                                      242 Trumbull Street
                                                      Hartford, CT 06103
                                                      Phone: (860) 275-0100
                                                      Fax: (860) 275-0343
                                                      Email: jmueller@daypitney.com

                                                      Their Attorneys



                               CERTIFICATION OF SERVICE

        I hereby certify that, on March 8, 2021, a copy of foregoing was filed electronically and
served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by
e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the Court’s CM/ECF System.


                                                   /s/ Jeffrey P. Mueller
                                                  Jeffrey P. Mueller (ct27870)




                                                -4-
.
